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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case No. 1:23-cr-20432

v.                                                          Honorable Thomas L. Ludington
                                                            United States District Judge
LESLIE DEMONT BURTON
                                                            Honorable Patricia T. Morris
                  Defendant.                                United States Magistrate Judge
________________________________________/

     ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING GUILTY
       PLEA, AND TAKING RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

        Magistrate Judge Patricia T. Morris conducted a plea hearing upon Defendant Leslie

Demont Burton’s consent. See ECF Nos. 27; 28. On December 19, 2023, Judge Morris issued a

Report recommending the acceptance of Defendant’s guilty plea. ECF No. 31. Judge Morris gave

the Parties 14 days to object, but they did not do so. They have therefore forfeited their right to

appeal Judge Morris’s findings that Defendant was competent to enter a plea and did so knowingly,

voluntarily, and with a basis in fact. See FED. R. CRIM. P. 11(b); Berkshire v. Dahl, 928 F.3d 520,

530–31 (6th Cir. 2019) (citing Thomas v. Arn, 474 U.S. 140, 149 (1985)).

        Accordingly, it is ORDERED that Judge Morris’s Report and Recommendation, ECF No.

31, is ADOPTED.

        Further, it is ORDERED that Defendant’s guilty plea is ACCEPTED, and that the Rule

11 Plea Agreement, ECF No. 30, is TAKEN UNDER ADVISEMENT.


        Dated: January 3, 2024                              s/Thomas L. Ludington
                                                            THOMAS L. LUDINGTON
                                                            United States District Judge
